UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---- -X
JOHN CLOUGHER, DENNIS STEIN,
& COLLIN WERTS, individually and
on behalf of all persons similarly situated, MEMORANDUM & ORDER
06-cv-05474 (RRM)(ARL)

 

Plaintiffs,
- against -
HOME DEPOT U.S.A., INC.,

Defendant.

 

Plaintiff John Clougher brings this action against Defendant Home Depot U.S.A., Inc.
(“Home Depot’) seeking to recover overtime compensation under New York Labor Law. Home
Depot now moves for summary judgment. For the reasons discussed in Section I, infra, Home
Depot’s motion to establish Clougher’s overtime-exempt status as a bona fide executive is
DENIED. For the reasons discussed in Section II, infra, Clougher’s argument that, as a matter of
law, he is not a salaried employee, and therefore not subject to the relevant bona fide executive
inquiry, is equally unavailing. Finally, Home Depot’s motion to dismiss Clougher’s equitable
claims is GRANTED.

PROCEDURAL BACKGROUND

Plaintiffs Clougher, Dennis Stein, and Colin Werts, each of whom was employed by
defendant Home Depot, a national home improvement retailer, as Merchandising Assistant Store
Managers (““MASM(s)”), initially filed this matter as a putative class action in New York
Supreme Court, Kings County. On October 10, 2006, Home Depot removed the action to the

United States District Court for the Eastern District of New York, pursuant to 28 U.S.C. §§ 1441
and 1446. Plaintiffs Werts and Stein were dismissed respectively on February 14, 2008 and June

17, 2008. Clougher, the remaining plaintiff, has not filed a motion seeking class certification

and, for purposes of this Motion, the Court addresses his claims on an individual basis.
FACTUAL BACKGROUND!

Home improvement retailer Home Depot sells products and services at store locations
throughout the United States. Each Home Depot location employs up to 400 employees, each of
whom is typically employed in one of a dozen separate and distinct departments. The employee
structure of Home Depot locations typically consists of a single store manager, who serves as the
highest ranking employee at that location, as well as several assistant store managers. The
assistant management tier includes Clougher’s MASM position, a position generally considered
the second-ranking store employee. The store managers, and various assistant managers,
including MASMs, currently are the only positions in each store classified as “executive”
positions, exempt from state and federal overtime requirements.

Prior to his November 2005 termination, Clougher was an MASM at Home Depot’s
Valley Stream, New York location from 1999 to 2003 and at its Elmont, New York location for

approximately six months in 2005. It is not disputed that during his tenure as an MASM,

 

| The uncontroverted facts recited here and in the discussion below are set forth without citation to the

record, but have been drawn from this Court’s close examination of the following sources: the Declaration of
Joshua B. Waxman, sworn Nov. 7, 2008, with appended exhibits (docket no. 53-2); the Declaration of Nicole Smith,
sworn Nov. 5, 2008, with appended exhibits (docket no 53-3); Defendant Home Depot U.S.A., Inc.’s Statement of
Material Facts in Support of Its Motion for Summary Judgment (docket no. 53-4); Plaintiffs’ Counterstatement of
Material Facts and Response to Home Depot U.S.A., Inc.’s Local Rule 56.1 Statement of Material Facts in Support
of Its Motion for Summary Judgment (docket no. 50); the Declaration of Lee Squitieri in Opposition to Defendants’
motion for Summary Judgment, sworn Dec. 15, 2008, with appended exhibits (docket no. 49); the Second
Declaration of Joshua B. Waxman in Support of Defendant’s Motion for Summary Judgment, sworn Jan. 7, 2009,
with appended exhibits (docket no. 53-7); and the Declaration of Lee Squitieri in Support of Plaintiff's Motion for
Extension of Time to Serve Amended Counterstatement of Material Facts and Amended Memorandum of Law in
Opposition to Defendant’s Motion for Summary Judgment, sworn Dec. 18, 2008, with appended exhibits (docket
no. 52). Disputes of fact have been identified and noted by the Court.

2 Although the plaintiff worked as a Night Operations Assistant Store Manager and an Operations Assistant

Store Manager, he limited this action to cover only the time period in which he worked as an MASM.

2
Clougher earned an annual salary that ranged from $45,000 to $60,000 ($865.38 to $1,153.85 per
week), nor that Clougher’s MASM compensation also included stock option awards based on his
individual performance, as well as incentive bonuses awarded on the basis of his stores’ overall
performance.

A published posting of the MASM position, which Clougher identified at his deposition,
and which is appended to the summary judgment record, describes MASM duties, in relevant
part, as follows:

Sales Assistant Store Managers (ASMs)"*! are responsible for providing
Customers with a convenient and enjoyable shopping experience. They
work to create an inviting shopping environment for Customers by
meeting their project needs quickly and fully. They work with the Store
Manager to develop strategies and objectives to drive sales and
profitability. They provide leadership to Associates so that these
strategies and objectives are executed successfully. Sales ASMs must
analyze trends, solve problems and develop themselves and_ their
Associates in order to maximize contribution to store success. They must
also be capable of working with Associates, the Store Manager and other
ASMs to accomplish goals.

Notwithstanding Home Depot’s MASM job description, Clougher denies that his actual
day-to-day MASM responsibilities differed from that of nonexempt workers and specifically
denies that his primary duties as an MASM were, in fact, managerial. Although Clougher admits
that while he did from time to time exercise managerial responsibility, he did so largely pursuant
to the dictates of immutable corporate policy or at the behest of the Store Manager to whom he
reported. Clougher insists that, more often, the majority of his day-to-day tasks were comprised
of stocking shelves, unloading trucks, manning cash registers, sweeping floors, assisting

customers in the aisles, and generally working “in the trenches” alongside and performing the

exact same duties as non-salaried, hourly-wage employees.

 

3 There appears to be no dispute that the Sales Assistant Store Manager position referred to above is

synonymous with Clougher’s MASM position.
In sum, Clougher alleges that Home Depot honored MASMs’ managerial role more in the
breach than in the observance; that his salaried position was rendered meaningless by minimum
(but usually far greater than) 55-hour workweeks; and that Home Depot pressed its “exempt”
salaried employees to primarily perform nonexempt, hourly-worker tasks in order to avoid
paying expensive overtime wages to its nonexempt employees. Thus, although neither side
submits timesheets or other records of hours and tasks performed, Clougher estimates that he
spent no more than 20% of his time on managerial functions, and that management was certainly
not his principal duty.

SUMMARY JUDGMENT

Summary judgment should not be granted unless “the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to judgment as a matter
of law.” Fed. R. Civ. P. 56(c). A fact is material “if it might affect the outcome of the suit under
the governing law.” Holtz v. Rockefeller & Co., 258 F.3d 62, 69 (2d Cir. 2001). An issue of fact
is genuine only if a jury could reasonably find in favor of the nonmoving party based on that
fact. /d. The moving party bears the initial burden of establishing the absence of any genuine
issue of material fact, after which the burden shifts to the nonmoving party to establish the
existence of a factual question that must be resolved at trial. Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 256 (1986). The trial court is required to construe the evidence in the light most
favorable to the nonmoving party, and draw all reasonable inferences in that party’s favor. /d. at

252; Cifarelli v. Vill. of Babylon, 93 F.3d 47, 51 (2d Cir. 1996).
DISCUSSION

By summary judgment, Home Depot attempts to navigate the safe-harbor of New York’s
executive exemption as an affirmative defense to overtime-wage liability. See N.Y. Labor Law §
651(5)(c). In light of the anemic factual record, however, and for the reasons set forth below,
Home Depot has not met its strict burden of establishing Clougher’s bona fide executive status as
a matter of law.* However, this Court is sufficiently persuaded that Clougher is a salaried
employee; and that, as such, the relevant tests established by federal and state overtime-wage
regulations and jurisprudence shall ultimately provide the exclusive and appropriate vehicles for
resolving the executive exemption question upon a more fully developed factual record.
Accordingly, Clougher’s merely duplicative common law causes of action are dismissed.

I.

Both New York and federal wage law require employees working more than forty hours
per week to be compensated for overtime work at a rate of one-and-a-half times their standard
rate, 29 U.S.C. § 207(a)(1); N.Y. Labor Law §§ 650 ef seg.; N.Y. Comp. Codes R. & Regs. tit.
12, § 142-2.2 (expressly adopting the provisions and exemptions of the federal Fair Labor
Standards Act of 1938, 29 U.S.C. § 201 et seq.), see also, Kahn v. Superior Chicken & Ribs, Inc.,

331 F. Supp. 2d 115, 117 (E.D.N.Y. 2004), but both provide statutory exemptions for employees

 

‘ In the context of overtime wage claims, as here, application of the “executive exemption” is an affirmative

defense, which any defendant employer bears the burden of proving by a preponderance of the evidence. Bilyou v.
Dutchess Beer Distribs., Inc., 300 F. 3d 217, 222 (2d Cir. 2002); see also Martin v. Malcolm Pirnie, Inc., 949 F.2d
611, 614 (2d Cir. 1991); Davis y. Abercrombie & Fitch Co., No. 08 Civ. 1859, 2008 WL 4702840, at *8 (S.D.N.Y.
Oct. 23, 2008); Marshall v. Burger King Corp., 504 F. Supp. 404, 407 (E.D.N.Y. 1980). Moreover, because both
federal and New York overtime wage laws are remedial in nature, their relevant exemptions are construed narrowly
against the employer. See Kahn v. Superior Chicken & Ribs, Inc., 331 F. Supp. 2d 115, 117 (E.D.N.Y. 2004).
properly classified as “bona fide executives,” see 29 U.S.C. § 213(a)(1); N.Y. Labor Law §
651(5)(c).°

Pursuant to amended federal wage regulations, © application of the exemption requires
compensation on a salaried, rather than an hourly-wage, basis (see, 29 C.F.R. §541.100(a)(1)); a
factor sufficiently established in Clougher’s case, as discussed more fully in Section II, infra.
Next, the employer must establish that the salaried employee’s duties necessarily include (a)
directing the work of two or more employees (see, 29 C.F.R. § 541.100(a)(3)), and (b) having the
authority to hire/fire or make personnel recommendations (see, 29 C.F.R. § 541.100(a)(4)). The
satisfaction of these factors is not in dispute. The true sticking point to bona fide executive
determination in this case, as in most, lies in the requirement that (c) management constitute the
employee’s primary duty. 29 C.F.R. § 541.100(a)(2). Although “primary duty” is an undefined
term, the Code of Federal Regulations identifies the following considerations: (1) the relative
importance of an employee’s exempt duties as compared with other types of duties; (2) the
amount of time the employee spends performing exempt work; (3) the employee’s relative

freedom from direct supervision; and (4) the relationship between the employee’s salary and the

 

5 Because New York’s overtime provisions mirror and/or expressly adopt federal wage law (see, e.g., N.Y.

Comp. Codes R. & Regs. tit. 12, § 142-2.2) federal courts evaluate New York’s executive exemption by reference to
the Fair Labor Standards Act of 1938, 29 U.S.C. § 201 ef seq., and its attendant regulations, set forth in the Code of
Federal Regulations. Zheng v. Liberty Apparel Co., 355 F.3d 61, 78 (2d Cir. 2003); see, e.g., Kahn, 331 F. Supp. 2d
at 117; Torres v. Gristede’s Operating Corp., No. 04 Civ. 3316, 2008 WL 4054417, at **3 n.4 (S.D.N.Y. Aug. 28,
2008). This Court does so here.

6 Two sets of regulations are pertinent to this case: those in effect before August 23, 2004 (the “pre-2004

regulations” or “old regulations”), and those that went into effect on August 23, 2004 (the “post-2004 regulations”
or “current regulations”). Under the so-called “short test” of the old regulations, an employee who was paid a salary
of at least $250 per week (as was Clougher) qualified as an executive if his primary job duties (1) consisted of the
management of the enterprise and (2) included the customary and regular direction of the work of two or more other
employees. 29 C.F.R. 541.1(f) (pre-2004). In 2004, the United States Secretary of Labor revised the short test
criteria, as set forth above. See 29 C.F.R. 541.700.

In applying the proper legal framework, the Court relies on Johnson v. Big Lots Stores, Inc., 604 F. Supp.
2d 903, 908-09 (E.D. La. 2009) (discussing the 2004 amendments) — a thorough and well-reasoned executive
exemption analysis by the estimable Sarah S. Vance, Chief Judge of the Eastern District of Louisiana — for its
thorough explication of the analytical changes brought about by the 2004 amendments to the Regulations

6
wages paid to other employees for the kind of nonexempt work performed by the employee. 29
C.F.R. § 541.700(a); see also Johnson vy. Big Lots Stores, Inc., 604 F. Supp. 2d 903, 912 (E.D.
La. 2009),

Consideration of these factors is a highly fact-intensive inquiry, “to be made on a case-
by-case basis in light of the totality of the circumstances.” Big Lots, 604 F. Supp. 2d at 908; see
also Khan, 331 F. Supp. 2d at 118. In so doing, courts often rely upon a developed trial record —
a record that is all-together lacking in this case. See, e.g, Donovan v. Burger King Corp., 675
F.2d 516 (2nd Cir. 1982), aff’g Marshall v. Burger King Corp., 504 F. Supp. 404 (E.D.N.Y.
1980) (evaluating overtime claims of assistant store managers upon substantial trial testimony
before the district court); see also Donovan y. Burger King Corp., 672 F.2d 221, 223 (1st Cir.
1982) (vacating and remanding in part the district court’s trial findings); Big Lots, 604 F. Supp.
2d at 907 (relying upon 43 hours of trial testimony concerning Big Lots’s operations, and
additional trial testimony concerning the daily activities of the individual assistant manager
plaintiffs, including testimony from up to seven witnesses per case). While this Court need not
prescribe the type or quantity of evidence necessary to evaluate the wage claim at issue, it is
apparent that some degree of factual inquiry is required in order to obtain a more complete
picture of the daily MASM duties at Home Depot’s Valley Stream and Elmont locations during
the relevant timeframe.

Here, far from a comprehensive record of Clougher’s managerial activity, Home Depot
cobbles together bits and pieces of Clougher’s four-and-a-half year MASM employment history
from his deposition in this case, as well as a 2001 deposition given in an unrelated matter. Home
Depot puts forth no affidavits or deposition testimony from Clougher’s supervisors, either at

Valley Stream or Elmont; nor is there any evidence from any other assistant store manager or
MASM at either location; nor even from any of the hundreds of hourly-wage employees that no
doubt worked at those locations between 1999 and 2005. Cf Big Lots, 604 F. Supp. 2d at 907
(relying upon testimony from up to seven witnesses per case, including supervisors, assistant
supervisors and subordinate co-workers). In sum, Home Depot fails to put forth any
corroborating evidence from any relevant and available witness other than Clougher. The
material disputes of fact resulting from the undeveloped summary judgment record become
manifest in even the most cursory “primary duty” analysis, as illustrated briefly below.
A. The relative import of Clougher’s MASM duties

To support application of the executive exemption on summary judgment, Home Depot
argues that MASM’s managerial oversight is vitally important to the local and national success
of its business. See Burger King Corp., 675 F.2d at 522 (holding that the demonstrated
importance of plaintiffs’ managerial role to operational success is sufficient, as a matter of law,
to warrant application of the executive exemption defense). Specifically, Home Depot contends
that neither Valley Stream nor Elmont could have operated efficiently, profitably or safely had
Clougher not performed essential management functions, including opening and closing those
store locations; hiring, training, and directing employees; ensuring adequate staffing; tracking
and analyzing sales volume; responding to emergencies as the manager of the day; managing and
ordering store inventory; enforcing safety standards; evaluating associates; and disciplining
associates. But, Clougher, himself, denies regularly performing such tasks, claiming that such
action, if taken, was rare or performed in strict accordance with nondiscretionary corporate
policy or at his supervisor’s behest. Cf id. (relying upon demonstrable evidence that for the
“great bulk” of their work days, plaintiffs were “solely in charge of their restaurants” ); see also

Big Lots, 604 F. Supp. 2d at 915-16 (distinguishing the Burger King cases in both the First
Circuit, 672 F.2d at 227, and the Second Circuit, 675 F.2d at 522, based upon a quantitative
comparison of hours per week in which plaintiff acted as sole manager as a percentage of his
overall job responsibility).

This obvious dispute of fact precludes proper analysis, as resolution of the dispute
necessarily results in disparate outcomes. In Big Lots, for example, the Court rejected an
executive exemption defense, even where, as here, plaintiffs on occasion served as sole
managers-in-charge, were responsible for opening and closing the business, or performed other
so-called essential management tasks, including disciplining employees. Big Lots, 604 F. Supp.
2d at 914. In so doing, the Court considered the actual hours each plaintiff spent performing
such tasks; the motivations for their doing so; and whether or not hourly-wage workers were
charged with the same or similar responsibilities. With benefit of a fully-developed record,
Judge Vance found that plaintiffs’ respective managerial duties, to the extent they were
performed, were inadequately discretionary or too infrequent to suggest managerial import. The
Court further concluded that the redundant ability of even hourly-wage supervisors to perform
so-called essential management tasks meant that plaintiffs’ absence would prove no great
impediment to the continued success of Big Lots’s operations. See id. at 916-17. Indeed, the
Court found that plaintiffs’ true import to the enterprise’s success lay not in their managerial
oversight, but in the substantial savings accrued in assigning costly overtime work to overtime-
exempt employees. See id. at 917. The factual record in this case raises identical claims and
defenses, is hotly disputed, and cannot be resolved without further fact-finding.

B. The amount of time spent performing exempt work
As indicated above, the quantitative analysis necessary to properly weigh exempt work

against nonexempt work is lacking. Citing Clougher’s various admissions to having performed
managerial tasks, Home Depot would have this Court infer that management occupied more than
fifty percent of his time. Clougher, however, submits a sworn declaration objecting to Home
Depot’s alleged mischaracterization of his testimony, and purporting to provide a fuller factual
context from which this Court is to understand that his managerial role occupied no more than
twenty percent of his time.’

Attempting to dispel the resultant factual dispute, Home Depot notes correctly that even
if Clougher spent more than half his day performing non-managerial work — a favorable
inference to which he is entitled on summary judgment — that fact alone does not preclude a
finding that management was, nonetheless, his primary duty. See Burger King Corp., 675 F.2d
at 521 (recognizing that significant time spent performing nonexempt work is not dispositive);
see also 29 C.F.R. § 541.106, 541.700 (establishing that properly classified bona fide executives
may perform substantial nonexempt tasks). However, no circuit court has found management to
be an employee’s primary duty where managerial tasks are performed merely 20 percent of the
time, as alleged here. See Big Lots, 604 F. Supp. 2d at 912-13 (“In most cases, an employee has
management as his primary duty if he spends over 50% of his time performing exempt work.
No circuit courts have found management was a primary duty when the employee spent 80 to
90% of his time performing nonexempt tasks.”) (citations omitted). Absent objective evidence,
a more complete examination of the facts and circumstances surrounding Clougher’s daily

responsibilities, and credibility determinations, this Court cannot resolve this question.

 

7 As an initial matter, Home Depot objects to Clougher’s declaration as nakedly self-serving. But, this Court

finds nothing in Clougher’s Declaration that is patently inconsistent with his prior testimony, nor so incredible as to
render it a sham instrument.

10

 
C. Freedom from direct supervision and exercise of discretionary authority®

Both freedom from supervision and the exercise of discretionary authority contemplate
decisions of the kind and quality normally made by persons formulating policy within their
spheres of responsibility, or who participate in this process, or who exercise authority to commit
the employer in a substantial respect, financial, or otherwise. See Cooke v. Gen. Dynamics
Corp., 993 F. Supp. 56, 65 (D. Conn. 1997). For reasons previously discussed, the evidence in
the record leaves a question of fact as to whether Clougher routinely made decisions sufficient to
affect Home Depot’s policies or to otherwise bind the business in any meaningful way.

D. Relationship between the employee’s salary and the wages paid to
nonexempt employees performing similar work

1) Salary difference between exempt and nonexempt employees

Here, even the seemingly objective issue of compensation is not without factual wrinkles.
Ostensibly, Clougher’s compensation at its highest rate —- approximately $5,000 per month — was
forty-two percent more than that of the highest paid, nonexempt department supervisor
(approximately $3,530 per month). This compensation was further supplemented by earned
stock options and MASM bonuses not available to his hourly-wage comparators. On that basis
alone, Home Depot seeks application of the executive exemption. See Kaster v. Sam’s
Wholesale Club, 131 F. Supp. 2d 862 (N.D. Tex. 2001) (holding demonstrable evidence of
significant pay disparity sufficient to support application of executive exemption). Although a

close issue, on this record Home Depot fails to meet the summary judgment standard.

 

8 Unlike New York’s wage regulations (12 N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.14(c)(4)(i)(d)) and
prior federal regulations (29 C.F.R. 541.103), the 2004 amendments to the FLSA’s regulations (see, 29 C.F.R.
451.700(a)) no longer identify discretion in decision-making as a distinct consideration, as such element is often
considered “part and parcel” of whether an employee enjoys freedom from direct supervision. See Big Lots, 604 F.
Supp. 2d at 917.

11
First, Home Depot’s argument ignores the fact that disparate compensation, even where it
includes performance bonuses, stock options, and other tokens of executive employment, has
never been held strictly dispositive. See e.g., Big Lots, 604 F. Supp. 2d at 904 (bonuses paid
only to exempt workers not strictly dispositive); Pendlebury v. Starbucks Coffee Co., 2008 U.S.
Dist. LEXIS 20086 (S.D. Fla. Mar. 12, 2008) (summary judgment was denied even though
plaintiff managers received bonuses, whereas their subordinates did not, because there remained
“lingering questions of fact” as to the other components of the test to determine an employee’s
primary duty). Readily acknowledging that bona fide executives often receive compensation
commensurate with greater corporate responsibility, the relevant inquiry in this case nonetheless
remains upon the degree and depth of that responsibility, not upon mere dollar figures.

Second, there is nothing in the record to render Clougher’s counter-argument
implausible; namely, that his hourly pay rate, where properly calculated, is substantially less than
comparable hourly-wage supervisors — at least when accounting for: (a) Home Depot’s
mandatory 55-hour MASMs workweeks, and (b) Clougher’s allegation that his typical
workweceks greatly exceeded that requirement. If true, Clougher inches closer to demonstrating a
calculated economic decision to misuse MASMs. Given the potential import of an hourly-wage
analysis, this Court is compelled to reject Home Depot’s all too pat concern for the burdens of
engaging in such “mathematical gymnastics.” Compare Moore v. Tractor Supply Co., 352 F.
Supp. 2d 1268, 1279 (S.D. Fla. 2004) (declining to reduce salary to hourly rate), with Big Lots,
604 F. Supp. 2d at 918 (finding hourly rate analysis both relevant and appropriate to proper
executive exemption determination) (citing Thomas v. Speedway SuperAmerica, LLC, 506 F.3d
496, 508-09 (6th Cir. 2007) (same) and Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233,

1257-58 (11th Cir. 2008) (same)).

12
2) Similarity of work performed by nonexempt employees

Finally, the alleged overlap between MASM duties and those of nonexempt department
supervisors is sufficient to further preclude summary judgment. Clougher alleges that Home
Depot’s hourly-wage supervisors are traditionally tasked with significant operational
responsibility, including, among other things, balancing the department workforce to ensure
proper customer coverage; maintaining safe work areas; maintaining their knowledge of retail
inventory; interacting with higher-management to increase departmental profitability; and
addressing customer concerns. If true, this consideration has substantial overlap with, and effect
upon, the factors already discussed above. For example, the ubiquity of managerial control tends
to lessen the importance of Clougher’s individual role to store performance. Moreover, such
overlap would create an economic incentive for Home Depot to substitute overtime exempt
MASMs in order to reduce its overtime payroll for nonexempt work. That action would, in turn,
necessarily increase (a) MASMs actual work hours per week, and (b) the overall proportion of
time spent in performing non-managerial tasks, the second factor discussed above. If true, these
realities would conceivably result in lowering an MASMs average hourly rate of pay.

Finally, overlap between MASMs and other employees has the added effect, in this case,
of blunting otherwise appropriate inferences of managerial performance that might otherwise
arise from Clougher’s obvious operational expertise. Simply put, although Clougher’s own
testimony demonstrates significant managerial know-how, it is at least plausible that such know-
how is, at least partly, derived from his non-MASM experience with the Company; e.g., his prior
managerial stints as a Night Operations Assistant Store Manager, an Operations Assistant Store

Manager, ’ and as an hourly-wage supervisor’? — all positions Clougher claims were effectively

 

° Both are management positions different from his MASM role, during which he does not claim to have

principally performed nonexempt work.

13
interchangeable with the MASM role. Accordingly, the alleged overlap between Clougher’s
various other managerial and non-managerial roles, rather than his MASM experience, may
account for Clougher’s managerial eye. For these reasons, factual questions predominate and
summary judgment is denied.

I.

The Court now briefly considers certain of Clougher’s contentions, which are properly
disposed of on summary judgment.

First, Clougher erroneously claims that Home Depot’s 55-hour per week policy for
MASMs rendered his salary improperly contingent upon the satisfaction of hourly targets. On
that basis alone, he seeks to be classified as a nonexempt, hourly-wage worker. That argument,
however, is unavailing. 29 C.F.R. § 541.602 states, in relevant part, that an exempt employee is
paid on a salaried basis where he regularly receives each pay period a predetermined amount
constituting all or part of the employee’s compensation, which amount is not subject to reduction
because of variations in the quality or quantity of the work performed. Moreover, such salaried
employees must receive their full salary for any week in which work is performed without regard
to the number of days or hours worked. Notwithstanding the prohibitions against salary
deductions, however, the mere fact that Home Depot required even its salaried employees to
work no less than 55-hours per week or face discipline, including termination, does not suggest
that Clougher’s compensation was hours-based, and does not undermine his proper classification

as a salaried employee. See Novak v. Home Depot U.S.A, Inc., No. Civ. 06-4841, 2009 WL

 

0 Accordingly, the fact that Clougher has developed substantial operational awareness of Home Depot’s
business does not necessarily preclude the fact that as an MASM he principally performed non-managerial duties.
Here, that operational knowledge is allegedly shared by a host of exempt and nonexempt employees alike is at the
core of Clougher’s claim, namely that the degree of overlap between salaried MASMs and nonexempt workers
(hourly-wage department supervisors for example), render those positions virtually interchangeable and that Home
Depot uses this fact, at least at Valley Stream and Elmont, to manipulate work schedules and to replace hourly-wage
workers with MASMs in order to get the same employee production without incurring overtime expense.

14
2634588, at *8 (D.N.J. Aug. 27, 2009); D.O.L. Op. Ltr. FLSA 2005-5 (Jan. 7, 2005) (Secretary
of Labor determination that where conditions necessary to establish salaried employee status are
otherwise met, a discipline policy that imposes discipline up to and including discharge for
repeated failure to meet a minimum-hours requirements is permissible and does not trigger loss
of a qualifying employee’s exempt status, so long as discipline imposed does not involve the
reduction of wages). '' Accordingly, this Court finds that Clougher is properly classified as a
salaried worker, as that term is defined by New York law. 2 As such, the considerations
discussed in Section I, supra, for evaluating overtime claims of salaried employees, are
applicable.

Second, this Court dismisses Clougher’s equitable claims for quantum meruit and unjust
enrichment as duplicative of his statutory claim. As his New York Labor Law claim provides an
adequate legal remedy for the conduct alleged, his equitable claims are hereby dismissed. See
Bongat v. Fairview Nursing Care Center, Inc., 341 F. Supp. 2d 181, 188-89 (E.D.N.Y. 2004)
(dismissing quantum meruit and unjust enrichment claims in favor of statutory overtime-wage
law claims arising from the same nexus of operative fact).

CONCLUSION
For the reasons discussed in Section I, Home Depot’s motion seeking summary judgment

as to Clougher’s bona fide executive status is DENIED as premature. For the reasons discussed

 

" This conclusion was equally reached in Novak v. Home Depot U.S.A, Inc., a parallel action currently

underway in the District of New Jersey. See Novak, 2009 WL 2634588, at *8. This Court, concurring with Judge
Sheridan’s analysis in Novak, finds no basis for departing from or creating an inconsistent holding regarding the
identical issue. Thus, this Court hereby adopts the Novak decision in relevant part. /d.; see also Morales v. Zondo,
Inc., No. 00 Civ. 3494 AGS, 2001 WL 64745, at *4 (S.D.N.Y. Jan. 25, 2001) (stating: the “mere fact that an
employee is salaried does not mean that the employer may not expect the employee to work at least 40 hours per
week.”).

2 In New York, the minimum salary basis required to qualify as an overtime-exempt employee is $386.25 per

week for worked performed after March 31, 2000; and $450 per week, for work performed after January |, 2005.
See 12 N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.14(c)(4)(i)(e).

15
Case 2:06-cv-05474-RRM-ARL Document 65 Filed 03/12/10 Page 16 of 16 PagelD #: 1154

in Section II, Clougher’s Opposition argument, seeking to establish as a matter of law that he is
not a salaried employee, and therefore not subject to the relevant bona fide executive test, is

DENIED. Finally, Home Depot’s motion to dismiss Clougher’s equitable claims is GRANTED.

SO ORDERED.

Dated: Brooklyn, New York
March 11, 2009

 

ROSLYNN R. MAUSKOPF ?
United States District Judge

16
